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 1                    IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA
 2                         CHARLOTTESVILLE DIVISION

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      ELIZABETH SINES, et al.,        CIVIL CASE NO.: 3:17-CV-00072
 4                                    September 14, 2020
                                      CHARLOTTESVILLE, VIRGINIA
 5              Plaintiffs,           VIDEO SHOW CAUSE AND STATUS
                                      HEARING
 6         vs.

 7    JASON KESSLER, et al.,               Before:
                                           HONORABLE NORMAN K. MOON
 8                                         UNITED STATES DISTRICT JUDGE
                 Defendants.               WESTERN DISTRICT OF VIRGINIA
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      **************************************************************
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      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY; TRANSCRIPT
25    PRODUCED BY COMPUTER.
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 1    (Proceedings commenced 2:10 p.m.)

 2                THE COURT:     Good afternoon.    Call the case,

 3    please.

 4                THE CLERK:     Yes, Your Honor.    This is Civil Action

 5    Number 3:17-cv-72, Sines and others v. Kessler and others.

 6                THE COURT:     Are the plaintiffs ready?

 7                MS. PHILLIPS:       We are, Your Honor.

 8                THE COURT:     Are the defendants ready?

 9                COUNSEL:     Yes.    We are, Your Honor.

10                THE COURT:     All right.    Before we begin I will

11    remind everyone that under Standing Order 2020-12, the Court's

12    prohibition against recording and broadcasting court

13    proceedings remains in force.         Attorneys' staff and any

14    members of the public accessing this hearing may not record or

15    broadcast it.

16                We are here today on two separate matters.         First I

17    will take up the show cause hearing involving Defendant Robert

18    Ray.     I will ask plaintiffs about the status of any steps

19    Mr. Ray may have taken toward compliance with Court Orders and

20    I would give him -- I would give him, if he were here, any

21    opportunity to respond.

22                Second, we have scheduled a status conference after

23    the Court Ordered the postponement of the trial and to have

24    some discussion regarding potential dates for proceeding

25    later.
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 1               Now, first, we're here on the contempt hearing for

 2    Defendant Robert Ray, show cause why he should not be adjudged

 3    in contempt of court.     Let me start by recapping the main

 4    background on this issue.

 5               Plaintiffs filed a motion for a Court Order

 6    requiring Mr. Ray to sit for deposition by videoconference

 7    after he had failed to appear for a properly noticed

 8    deposition on July 13, 2020.

 9               On July 23, 2020, Judge Hoppe issued an order to Ray

10    to appear by videoconference for deposition by plaintiffs'

11    counsel on July 29, 2020.      Judge Hoppe further warned Ray that

12    failure to comply with that order may result in a bench

13    warrant being issued for his arrest and transportation to this

14    judicial district to appear and show cause why he should not

15    be held in contempt of court.       Nonetheless, on August 5,

16    plaintiffs advised the Court that Ray had failed to appear for

17    his deposition as Judge Hoppe had required.

18               On August 27, 2020, I issued an order directing Ray

19    to appear at this contempt hearing scheduled this date and

20    time to show cause why he should not be adjudged in contempt

21    of court on account of his failure to comply (internet

22    distortion) dated July 23, 2020.       I ordered Mr. Ray to attend

23    this show cause hearing.

24               I also ordered Mr. Ray to do the following concrete

25    actions before this contempt hearing this afternoon:
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 1               One, I ordered him to contact the Clerk's Office by

 2    September 7, 2020, to get log-in or dial-in information to

 3    participate in this hearing.

 4               Two, I ordered him to contact plaintiffs' counsel by

 5    September 9, 2020, to get log-in or dial-in information to

 6    participate in a rescheduled deposition that was set to take

 7    place this morning, September 24, 2020, at 9:30 a.m. Eastern

 8    Time.   And I ordered him to appear by videoconference for that

 9    rescheduled deposition by videoconference by plaintiffs'

10    counsel this morning, September 14, 2020.

11               I have been informed by the Clerk of the Court that

12    Mr. Ray did not contact the clerk by September 7 as required

13    to get log-in information to participate in this afternoon's

14    contempt hearing.     Nonetheless, on September 10, the Clerk's

15    Office emailed him the information to participate in this

16    videoconference at his email address on file.         He has not

17    appeared today, either; is that correct, Heidi?

18               THE CLERK:    That is correct, Your Honor.

19               THE COURT:    All right.    I will also give the

20    plaintiffs an opportunity to present any arguments and

21    evidence in a moment.      But am I correct that Mr. Ray neither

22    contacted you by September 9 to get log-in information for his

23    deposition, nor did you have the deposition this morning?

24    Asking plaintiffs' counsel.

25               MS. PHILLIPS:     Yes.   Thank you, Your Honor.     This is
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 1    Jessica Phillips from Paul Weiss Rifkind Wharton & Garrison on

 2    behalf of the plaintiffs.      I will be handling the show cause

 3    hearing on behalf of plaintiffs today and my colleague and

 4    co-counsel Mike Bloch will handle the status conference.

 5               And you are correct that Mr. Ray neither contacted

 6    us as ordered on September 9, nor did he appear this morning

 7    at 9:30 a.m. Eastern Time for his deposition.         And, of course,

 8    this is the third time now that Mr. Ray has failed to appear

 9    for a noticed deposition, and the second time he's failed to

10    appear for a Court-ordered deposition.

11               THE COURT:    Okay, thank you.

12               I will also note for the record that this Court's

13    August 27 order, Mr. Ray was provided the opportunity to file

14    any brief or response or information he would like this Court

15    to consider by September 9.      He has not done so.

16               Accordingly, I am considering whether Mr. Ray should

17    be found in civil contempt in which sanctions are appropriate

18    and not any greater than necessary in order to coerce him to

19    compliance with the Court's orders.        Namely, the July 23,

20    2020, order from Judge Hoppe, as well as my August 27, 2020,

21    order, which both have directed Mr. Ray to sit for a

22    deposition, among other things.

23               It would appear that, notwithstanding certain

24    earlier participation by Mr. Ray in this case, he has over the

25    past year increasingly decided to ignore his responsibilities
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 1    to plaintiffs and the Court.

 2                With all that said, let's proceed since we have

 3    plaintiffs and everyone else here, except Mr. Ray.          Generally

 4    it is the plaintiffs' burden to establish by clear and

 5    convincing evidence another party's civil contempt.

 6                Do you have any evidence you wish to present?

 7                MS. PHILLIPS:    Thank you, Judge Moon.     Yes.   We

 8    would like to -- I'd like to present argument on each of the

 9    prongs of the civil contempt standard, if I may.

10                THE COURT:   Okay.

11                MS. PHILLIPS:    Thank you.    Of course, this is -- as

12    I said earlier, this is the third time now that Mr. Ray has

13    failed to appear for his noticed deposition in this

14    litigation.     And in doing so, as you noted, he has yet again

15    flouted the Court's orders and shown no disregard for the

16    plaintiffs' time and resources and efforts.         He has shown

17    absolutely no regard for his responsibilities as a civil

18    litigant.

19                And to be clear, Mr. Ray's deficiencies do not end

20    or begin with his failure to show up now three times for his

21    deposition.     He is, in fact, in violation of at least four

22    Court Orders:     ECF 379; ECF 728; the previous order on July

23    23, 2020, that Your Honor mentioned, which is ECF 814, the

24    order that Judge Hoppe issued requiring Mr. Ray to appear for

25    videoconference on the 29th of July; and then, obviously, most
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 1    recently, your order of August 27, 2020, ECF 848, Mr. Ray, as

 2    you just noted, Judge Moon, failed to comply with each and

 3    every provision of that particular order.

 4                I'd like to spend a little bit of time talking to

 5    you about his violation of ECF 329 and, in particular, ECF

 6    728.   Both of those were orders in response to two separate

 7    motions to compel that the plaintiffs were required to file

 8    because of Mr. Ray's discovery deficiencies.         He did respond

 9    to ECF 379, which was a November 13, 2018, order, although his

10    response to that order was entirely deficient.         He responded

11    in no way to ECF 728.     Judge Hoppe granted that motion on May

12    18, 2020, and set out a number of deadlines by which Mr. Ray

13    was supposed to provide plaintiffs with a second ESI

14    certification and a second deadline by which he was required

15    to provide our third party vendor in this case with all of his

16    devices and credentials for his social media accounts.          He

17    failed to -- he failed to meet either of those deadlines.            And

18    in response, plaintiffs filed a June 1, 2020, motion for

19    evidentiary sanctions and for the Court to issue a show cause

20    hearing.    That particular motion for evidentiary sanctions is

21    still pending.

22                So again, plaintiffs believe that Mr. Ray is now in

23    violation of at least four distinct Court Orders.          Mr. Ray has

24    had actual knowledge of the discovery orders that he violated.

25    Plaintiffs have repeatedly emailed Mr. Ray at the email
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 1      address that is on file for him and that was disclosed in the

 2      responses that he submitted to plaintiffs' first set of

 3      interrogatories.     That email address is azzmador@gmail.com.

 4      Plaintiffs have repeatedly served him with numerous copies of

 5      Court Orders and also reached out to him at this address

 6      numerous times regarding his failure to sit for his

 7      depositions and with regard to his failures in discovery.

 8                  We have also called Mr. Ray numerous times at the

 9      phone number that he disclosed in his interrogatory responses.

10      We've also reached out to him on a second phone number that

11      was revealed through discovery that he did not disclose to us,

12      and that was in part the subject of our March 11, 2020, motion

13      to compel.

14                  Mr. Ray simply refused to respond.       And what is so

15      unbelievably galling with regard to his failure to respond to

16      his responsibilities in this civil litigation is that he has

17      been active on social media using accounts that he failed to

18      disclose in the litigation.       In particular, he's been

19      recording episodes of his podcast which is called the Crypto

20      Report and posting them on a website called DLive.          And for

21      the record, that site is dlive.ev\azzmador.

22                  Mr. Ray has also been posting archived episodes of

23      his podcast on the BitChute website, and he also has an

24      account called The Official Crypto Report on the social

25      networking website Telegram.       So he is actively posting and
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 1      engaging on social media while refusing to abide by the

 2      Court's Orders in this litigation.        I don't think there can be

 3      any doubt about plaintiffs' prejudice in this case.

 4                  Excuse me, Your Honor.      You know, at the most basic

 5      level, we've put an enormous amount of time, effort, and

 6      resources on additional motion practice.         As I mentioned, we

 7      filed two separate motions to compel Mr. Ray to sit for his

 8      deposition.    We filed two motions to compel various other

 9      forms of discovery.      We have now had to file an evidentiary

10      sanctions motion, and, of course, we've engaged court

11      reporters and videographers to sit for Mr. Ray's deposition

12      each time to no avail, of course.

13                  And, you know, this leads me to the -- arguably, the

14      largest prejudice for plaintiffs, which is that Mr. Ray is

15      still withholding a trove of documents that are responsive to

16      this litigation that are relevant to the conspiracy that

17      plaintiffs have alleged and have been developing evidence to

18      prove at trial over the course of the last two years.           Mr. Ray

19      played a critical role in that conspiracy.

20                  At the time of Unite the Right, Mr. Ray was a writer

21      for The Daily Stormer.      It was the most visited and

22      influential hate website on the Internet at the time.           Through

23      articles that he posted on Daily Stormer, Mr. Ray promoted and

24      facilitated the events in Charlottesville, he encouraged

25      followers to attend Unite the Right and to bring with them
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 1      torches, pepper spray, and shields.        He was an active

 2      participant on Discord.      He told people of the events, that he

 3      would be there gassing the counterprotesters, and he referred

 4      to UTR as a war and not a party.        And then, of course, he did

 5      attend UTR and marched in the torch march, and, as he openly

 6      admitted, on August 12 of 2017 used pepper spray to attack

 7      counterprotesters, among other violent actions that he took.

 8                  In short, plaintiffs believe that Mr. Ray should be

 9      held in civil contempt, and we believe he should be

10      sanctioned.    In terms of the appropriate sanction, we would

11      request that the Court issue a bench warrant for Mr. Ray's

12      arrest.    Your Honor's August 27, 2020, order indicated that

13      Mr. Ray's failure to comply with that order could result in

14      additional grounds of contempt, could result in escalating

15      monetary penalties, or could result in a bench warrant

16      directing the marshals to arrest Mr. Ray and hold him in

17      custody until he purges himself of contempt.

18                  Respectfully, we believe that the final of those

19      sanctions is the most appropriate and necessary to actually

20      engage Mr. Ray and get him to participate in the litigation.

21      We just simply don't believe that there is any reason to think

22      that escalating monetary penalties will have any impact on his

23      willingness to engage in the litigation, and this is for a

24      couple of reasons.

25                  First and foremost, we've already received monetary
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 1      penalties that has done nothing to encourage his involvement.

 2      And there is also already a warrant out for his arrest in

 3      Virginia on criminal charges relating to his conduct and his

 4      actions at Unite the Right.       Specifically, on June 4 of 2018,

 5      a grand jury indicted him for maliciously releasing gas at

 6      Unite the Right, and a capias warrant was issued for his

 7      arrest on June 7 of 2018.       He's actually listed in Albemarle

 8      County as a fugitive.      So plaintiffs' view is, given that

 9      Mr. Ray is already determined to be a fugitive in Virginia,

10      escalating monetary penalties are not going to get him to

11      engage in the litigation.       So we would respectfully request

12      that Your Honor direct the marshals to arrest Mr. Ray and to

13      hold him in custody until he purges himself of contempt.

14                  And one final thing I'd just like to say is that we

15      do have an evidentiary sanctions motion pending against

16      Mr. Ray.    We would respectfully submit that that motion is

17      ripe and should be ruled upon.       Mr. Ray's egregious

18      behavior -- absolutely egregious -- even with regard to

19      comparable behavior from some of his codefendants and

20      coconspirators, you know, I think plaintiffs' view is that

21      Mr. Ray's behavior is even worse than what we've seen in other

22      civil contempt hearings, for example.        But we believe that

23      evidentiary sanctions are warranted to fill the gap that has

24      existed as a result of Mr. Ray's refusal to provide us with

25      the documents and the accounts, the videos, and photographs to
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 1      which we are entitled.

 2                  And also, I'm very happy to answer any questions

 3      that Your Honor may have about plaintiffs' position.           But

 4      again, since this is now the third time that Mr. Ray has

 5      refused to show up for a Court-Ordered deposition, I think

 6      nothing less than actually going and physically finding him

 7      will work in this case.

 8                  THE COURT:    Okay, thank you.     I don't have any

 9      questions.

10                  MS. PHILLIPS:    Okay.

11                  THE COURT:    I intend to issue a written opinion, but

12      I can determine now that I find Mr. Ray to be presently in

13      contempt of court.

14                  The elements of civil contempt are:

15                  1, The existence of a valid decree of which the

16      alleged contemnor had actual or constructive knowledge;

17                  2, That the decree was in the movant's favor;

18                  3, That the alleged contemnor by its conduct

19      violated the terms of the decree, and had knowledge (at least

20      constructive) of such violations; and

21                  4, That the movant suffered harm as a result.

22                  I find that all of his elements have been met by

23      clear and convincing evidence.

24                  Upon my own review of the record and considering the

25      argument and facts presented here, there is no question at all
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 1      and more than a clear and convincing case that Mr. Ray is in

 2      contempt.

 3                  First, Mr. Ray has not complied to the very basic

 4      obligations of every party in a civil case to respond to

 5      discovery requests, and, namely here, the obligation to sit

 6      for a deposition.

 7                  There are two Court Orders of which Mr. Ray had

 8      actual or constructive knowledge that were unequivocal and

 9      directed clearly to Mr. Ray -- from Judge Hoppe on July 23,

10      2020, and from this Court on August 27, 2020 -- which ordered

11      Mr. Ray to sit for a deposition upon oral examination.

12                  While he was previously represented by counsel, Ray

13      is a pro se litigant at this point, but that is no excuse.

14      All parties have an obligation to respond to discovery

15      requests as well as to comply with Court Orders.

16                  Second, these were Orders in Plaintiffs' favor that

17      would vindicate their right to receive relevant discovery from

18      Mr. Ray.

19                  Third, there is no dispute Mr. Ray did not appear

20      for either Court-Ordered deposition.        He did not contact

21      opposing counsel as required, nor did he contact the Clerk's

22      Office to get information to participate in this hearing,

23      which is also required.

24                  Mr. Ray has not attempted to tender any defense

25      either in writing or at this hearing today, and he is not here
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 1      today at his show cause hearing as ordered.

 2                  Fourth, by failing to appear at his deposition and

 3      failing these other obligations, plaintiffs have not received

 4      discovery to which they were entitled.         Their ability to

 5      develop and prosecute their case has been stymied.          They have

 6      also had to incur attorney's fees and costs to vindicate their

 7      right to discovery.

 8                  I, therefore, find Mr. Ray in civil contempt of

 9      court.

10                  I will next address the issue of remedy.

11                  Had Mr. Ray appeared or taken some steps to begin to

12      comply with the Court's and Judge Hoppe's orders, I would have

13      considered lesser measures to secure his full compliance, such

14      as monetary obligations, but Mr. Ray still (internet

15      distortion) case and this proceeding and in total disregard of

16      the Court's Orders.

17                  Do plaintiffs have anything else you would like to

18      add on the issue of remedy, anything you haven't said?

19                  MS. PHILLIPS:    No, Your Honor, thank you.

20                  (Interruption by the court reporter.)

21                  THE COURT:    Let me see.    I'll start that paragraph

22      over.

23                  Had Mr. Ray appeared or taken some steps to begin to

24      comply with the Court's and Judge Hoppe's orders, I would have

25      considered lesser measures to secure his full compliance, such
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 1      as monetary sanctions, but Mr. Ray is still absent from the

 2      case and this proceeding and in total disregard of the Court's

 3      Orders.

 4                  And I then asked plaintiffs' counsel if she had

 5      anything else to say, which she now has responded that she

 6      does not.

 7                  Unfortunately, as Mr. Ray has not seen fit to appear

 8      today as ordered or to take any steps at all to comply, I see

 9      no alternative but to issue a bench warrant for Mr. Ray's

10      arrest and have him transported to this district to be

11      detained until he purges himself of contempt by giving his

12      deposition.

13                  That will issue shortly, along with a Civil Contempt

14      Order providing, again, the specific steps Mr. Ray can take

15      himself to purge himself of contempt.

16                  All right.    Next we'll take up the status conference

17      in the case.

18                  On August 25, 2020, the Court removed the jury trial

19      from the Court's calendar in October in view of the health

20      risks presented by COVID-19 and the anticipated expansive

21      breadth and scope of the trial.       In my order, I identified a

22      few preliminary issues that could assist the Court in

23      rescheduling the trial that I wanted the parties to be

24      prepared to discuss.

25                  I will start with plaintiffs and then go around and
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 1      ask each of the defendant's counsel or defendants of any

 2      input.

 3                  There are increasing numbers of in-person

 4      proceedings in court, and jury trials are beginning to be

 5      attempted in this district, although we have not had any, to

 6      my knowledge.     But COVID-19 still appears a significant

 7      threat.    Even though this trial will be postponed for months

 8      and maybe closer to a year, the Court must plan to the extent

 9      possible so that it would be held in the safest way possible.

10                  Let's start with the non-COVID (internet distortion)

11      projected length of the trial.        I would like first to hear

12      from the plaintiffs how many weeks you think you really need.

13      You had previously -- I think the case was previously set for

14      three weeks; is that correct?        But I understand now you're

15      saying we need four weeks?        Is it the plaintiffs' position you

16      need four weeks?

17                  MR. BLOCH:    Thank you, Judge.     This is Michael Bloch

18      on behalf of the plaintiffs from Kaplan Hecker & Fink.           That's

19      correct.    We did go back and check our potential witness

20      lists, and we do think that four weeks would be an appropriate

21      projection for the length of the trial.

22                  THE COURT:    Okay.   Are you basing that on the number

23      of witnesses, or how do you come to the four weeks?          I just

24      had a trial that had 30-some witnesses, but it was a bench

25      trial, it was for two weeks, and we were through in about four
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 1      days.

 2                  MR. BLOCH:    Judge, to preview the answer to one of

 3      your later questions, we do all told project about 50

 4      witnesses.    And so that -- assuming that we will have a jury

 5      trial, we assumed somewhere in the nature of two to four days

 6      or so to pick a jury and about three weeks to move through the

 7      witnesses.

 8                  THE COURT:    Okay.   Do the defendants have any

 9      different ideas about that?

10                  MR. KOLENICH:    Your Honor, this is Jim Kolenich for

11      certain defendants.      I guess I'm unclear.     Are the plaintiffs

12      estimating four weeks just for their case in chief and jury

13      selection or is that an attempt to encompass defendants' case

14      in chief as well?

15                  MR. BLOCH:    That was our impression of the entire

16      case.    Of our potential 50 witnesses, we assume some amount of

17      overlap in terms of the number of witnesses.         So let me just

18      start with, in terms of our projection number of witnesses,

19      that includes all parties, plaintiffs and defendants, which we

20      assume will likely testify either in our case in chief or in

21      the defendants' case in chief.       And so all told, parties plus

22      third parties, plus experts, we believe amounts to

23      approximately 50 witnesses in which case the four-week

24      projection was for everybody.

25                  MR. KOLENICH:    Understood.    Thanks, Mike.
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 1                  In that case, I think I'm comfortable with the

 2      four-week estimate as well.

 3                  THE COURT:    Okay, thank you.

 4                  It looks like the case will have to be delayed at

 5      least until August or September of next year.          And Heidi, did

 6      you -- have you given them dates, possible dates for that?

 7                  THE CLERK:    Yes, Your Honor.     I gave some dates.

 8                  THE COURT:    But you haven't agreed on any dates; is

 9      that correct?

10                  THE CLERK:    No, sir.   Nothing has come back as

11      agreed upon yet.

12                  THE COURT:    Okay.   Well, I think it will have to be

13      that far off because, as you know, we haven't had any criminal

14      trials, either, and criminal cases have priority on the

15      docket.    But I think if we can set this a year off and the

16      COVID situation is improved, maybe we can get it done.

17                  But we calculated about 50 possible persons being in

18      the court, just parties and attorneys, if they are all there

19      at one time.     And it would be helpful if you-all could figure

20      some way to stagger counsel or the parties being there, or

21      possibly even to appear by Zoom.        The case that I recently

22      tried, a good number of the witnesses appeared by Zoom, and it

23      seemed to work -- I thought it worked out well.          Of course, it

24      was not with a -- we were not dealing with a jury.          But you

25      might give that some thought.
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 1                  There are -- there are some discovery issues still

 2      outstanding.     We haven't heard any motions for summary

 3      judgment yet, and I know, although we're putting the case off

 4      for a long ways, it seems to me it would be good to take up

 5      motions since discovery should have been completed by now.            We

 6      ought to take up motions for summary judgement not too far

 7      from now because, if there are parties that should be

 8      dismissed from the case, it would be helpful to get them out

 9      of the case so that we would know what we were planning for by

10      way of a trial.     So I don't want to put the motions for

11      summary judgement off up until just near the date of trial

12      like it might be in just a normal case.         So you might think of

13      that once -- yes.

14                  MR. BLOCH:    Judge, I'm sorry.

15                  THE COURT:    Go ahead.

16                  MR. BLOCH:    I didn't mean to interrupt.      This is

17      Michael Bloch.

18                  THE COURT:    I think you may be muted.

19                  MR. BLOCH:    Can you hear me now, Your Honor?

20                  THE COURT:    Yes.

21                  MR. BLOCH:    Can you hear me, Your Honor?

22                  THE COURT:    I hear you when you're speaking, I hear

23      you, but then I don't hear anything after that.

24                  MR. BLOCH:    Got it.     Thank you, Judge.

25                  With respect to summary judgement, the prior
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 1      scheduling order had a date of August 7 for summary judgement,

 2      which was prior to Your Honor's continuing the case.           One

 3      defendant -- well, three defendants represented by Bryan

 4      Jones -- League of the South, Michael Hill, and Michael

 5      Tubbs -- moved for summary judgement.        The rest of the

 6      defendants elected not to file summary judgement motions.            We

 7      have responded to the League of the South motion.          I believe

 8      they are contemplating filing a reply as well as setting a

 9      date for oral argument.      But it's my understanding that the

10      date for summary judgement has passed, and I think we've

11      actually completed that stage, other than the resolution of

12      the motion by --

13                  MR. HEIMBACH:    Your Honor, this is Matthew Heimbach.

14      As a pro se litigant, I suppose I had missed the time stamp,

15      and that's actually one thing I wanted to bring before the

16      Court.    I was going to file my motion for summary judgment and

17      then had noticed in the motion, as Mr. Bloch had announced on

18      August 7, if there's a continuance where I could file it now I

19      could file that with the Court because I believe it would be

20      appropriate given my involvement in the case to have a motion

21      of summary judgement.

22                  MR. SPENCER:    Your Honor, I would like to second

23      that sentiment.     Throughout August I was responding to the

24      requested admissions from plaintiffs as well, and I feel like

25      we are now in a position where these summary judgement motions
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 1      can be filed.     So if you could give us a reasonable deadline,

 2      I can certainly meet that.

 3                  MR. BLOCH:    Judge, this is Mike Bloch.      From the

 4      plaintiffs' perspective, we would oppose that.          There is --

 5      there was ample time to file summary judgement up until August

 6      7.   There was no indication that the trial date would be moved

 7      at that point, other than defendants did file summary

 8      judgement motions, and these defendants didn't.          So this to me

 9      feels opportunistic, and at this point all the defendants are

10      out of time to file summary judgement motions, as are

11      plaintiffs, for that matter.

12                  MR. CANTWELL:    If I could chime in on the motion for

13      summary judgment, I've been completely in the dark about

14      what's happening in this case.       I'm at a correctional facility

15      in the middle of the COVID lockdown, and nobody has been

16      serving me with anything, despite the fact that I notified the

17      Court of my presence here back in February.

18                  The first thing I got from the plaintiffs in this

19      case was the request for admissions which they sent me in the

20      middle of August.     I only started getting court documents

21      towards the end of June, and so this is -- the deadline for

22      summary judgement is completely news to me.         I've been in the

23      dark about this case since January.

24                  THE COURT:    Let me say for all the requests now for

25      summary judgement, those matters have been referred to Judge
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 1      Hoppe, and you'll take those up with Judge Hoppe.          And if he

 2      allows it, then he'll give you the time.          He'll give you the

 3      times within which you must file any motion.          And I think

 4      that's the best way to handle that.        And of course -- well,

 5      I'll just say previously these matters were referred to Judge

 6      Hoppe, and so it's still in his hands.          So that would be -- if

 7      you wish to make a motion to file a summary judgement late,

 8      you may take it up with him.       All right.

 9                  But even so, what I was saying is I'd like to

10      resolve all motions like that as early as reasonably possible

11      without -- you know, there's no need to be in such a rush, but

12      I'd like to get it done so that we have all of that out of the

13      way and know what to plan on by way of trial.

14                  One of the things that's really concerned the Court

15      is the size of the courtroom to handle a case of this size.

16      As I said, we think there will be at least 50 participants,

17      including lawyers and parties, and that's then, of course, we

18      have usually ten or so people connected with the Court that

19      would likely be in the courtroom.        I mean, we do have the

20      potential for the public in a civil case to be moved down --

21      down to another court, another room in the building.           So if

22      there's any public interest, which I would imagine there would

23      be, they could watch the proceedings from another space.            But

24      if the COVID-19 is still a problem at that time, it's going to

25      be awfully difficult to maintain any six-feet distance and
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 1      practically impossible to try a case unless we find another

 2      venue.    And but we'll have to take that up as we get there.

 3                  Have the plaintiffs picked their counsel, selected

 4      one of you to sort of be a point contact to assist in ensuring

 5      compliance with health precautions going forward?

 6                  MR. BLOCH:    Yes, Judge, this is Michael Bloch, and

 7      I'm happy to serve that role for plaintiffs.

 8                  THE COURT:    All right.

 9                  MR. BLOCH:    I did have additional thoughts with

10      respect to the trial date if it would be appropriate for me to

11      chime in on that now, Your Honor.

12                  THE COURT:    Yes, go ahead.

13                  MR. BLOCH:    Judge, one of the -- one of the dates

14      that Ms. Wheeler had suggested as potential trial dates was

15      April 26 as a start date.       We -- we discussed that internally.

16      That date works for all plaintiffs' counsel.         I also spoke

17      with each defense counsel, and I believe that date works for

18      each defense counsel.      I spoke individually with Mr. Spencer,

19      who I believe also has no objection to that.         I haven't heard

20      from Mr. Heimbach or Mr. Campbell on that point.

21                  But if that date is potentially agreeable with Your

22      Honor, that is a date that I think works for at least the

23      overwhelming majority, if not all of the parties, at this

24      point.

25                  I also think with respect to the length of trial, I
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 1      will say that plaintiffs and defense counsel have throughout

 2      this case worked well together in term of streamlining things.

 3      I do expect that -- and I hope that will continue with respect

 4      to streamlining this trial process.        I think everybody here

 5      shares the interest in getting this trial completed as swiftly

 6      and efficiently as possible.

 7                  So if Your Honor is amenable to a potential April 26

 8      trial date, that does work with the parties, and I do think

 9      with respect to the length of trial and number of witnesses we

10      will be working together to streamline it as much as humanly

11      possible.

12                  THE COURT:    Well, you know, I personally don't have

13      much of any problem with the April date.         My concern is, is

14      whether this pandemic is going to be abated enough to, you

15      know, try the case safely.       That's the biggest problem.      I

16      mean, we obviously -- we couldn't get 60 people in the

17      courtroom and maintain any distance, and it would just --

18      there would be 60 people, plus now we're talking about we

19      would have ten or so jurors I think to start out with.           There

20      will certainly be a number of alternates.

21                  The biggest problem for the Court is we set a case

22      like that for a month and we -- and it affects all the other

23      cases on the docket, too, hearings and that sort of thing, and

24      then we end up not being able to use, you know, that month.

25      And so it's really backed the calendar up.         And if we are able
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 1      to try cases by April, we have to give the criminal cases some

 2      priority.    And that's -- that's the problem I have.        I mean, I

 3      would like to accommodate you, in particular, if you can do

 4      it.

 5                  Heidi, I guess one thing we could do is set the case

 6      in April and make a decision about sometime in January or

 7      February.    We would know sort of how the pandemic is going.

 8      If we have a vaccine by then, we may be able -- may be able to

 9      do something.     We could tentatively --

10                  THE CLERK:     And we could also set it and do a second

11      position out further to hold for a second position, Judge.

12                  MR. BLOCH:    Judge, that sounds like -- that works

13      well for plaintiffs.

14                  MR. SPENCER:     I have no objection to that.      I, too,

15      am fairly pessimistic about the notion that this pandemic will

16      be solved by the spring, to be honest, but I certainly don't

17      have any -- due to the pandemic, I don't have any major plans,

18      so I have no objection to a trial in the spring, or if you

19      have to do it a year from now.

20                  THE COURT:     Okay.

21                  MR. HEIMBACH:     Your Honor, this is Matthew Heimbach.

22      According to Dr. Fauci, or at CNN just yesterday, he estimated

23      that we won't see a reduction in the pandemic until the end of

24      next year.    Now, like everyone else, I'd like to see this

25      resolved as quickly as possible, but if the experts in the
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 1      field are saying we're a year out, at least, from a

 2      resolution, I'm more curious about safety precautions, as you

 3      mentioned, for us, how many days defendants are to be there or

 4      witnesses, or what we're going to be doing to make sure that

 5      social distancing is taken into account and everyone is kept

 6      safe on both sides.

 7                  THE COURT:    Well, I think that major concern.

 8                  MR. BLOCH:    Judge, this is Michael Bloch, and I

 9      absolutely share everybody's concern with a time and manner

10      when it can be safe and healthy for everybody.

11                  With respect to courtroom spacing, we have a number

12      of ideas and are happy to work with the Court and defendants

13      to achieve that.

14                  In terms of time, one of the things that we're

15      obviously balancing from the plaintiffs' side is that this --

16      it's been over -- we're coming up on three years since this

17      case has been filed, and we'll be working into our fourth,

18      which is, obviously, a long time for everybody, but,

19      particularly, our clients who are hoping for a resolution as

20      soon as possible.

21                  Just from experience having scheduled this

22      particular trial previously, it's been our experience that if

23      we don't -- if we aren't able to lock down dates, you know,

24      well ahead of time, given the number of parties and witnesses

25      and logistics that needs to go into scheduling the trial, then
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 1      we end up looking at a date much, much further down the road.

 2                  So I think your idea and Ms. Wheeler's idea of

 3      setting an April date with a backup date later on in the fall,

 4      as well as a status conference in January or February to see

 5      if we're really on target for that date, makes a lot of sense.

 6      If we are in a position to try it in April, and hopefully

 7      we'll have more information about that in January or February,

 8      I think everybody shares interest in getting it over with as

 9      soon as possible.

10                  THE COURT:    Okay.   Mr. Kolenich, did you have

11      anything to say?

12                  MR. KOLENICH:    I think I'm largely in agreement with

13      setting the date in April, understanding there might be a

14      backup date, a second position date, whatever, and, of course,

15      criminal cases take precedence.         But I agree with plaintiffs

16      that the April date is best and that -- for a variety of

17      reasons, not the least of which this has gone on now for quite

18      some time and party defendants are also anxious to get full

19      resolution.

20                  THE COURT:    Well, okay.     I'm willing to do that,

21      but, I mean, still I'm pessimistic that we're going to be able

22      to safely do it.     And safety is going to have to be the

23      greatest concern here.      So we'll do that and have a backup

24      date, too, Heidi, if you can work that out.

25                  THE CLERK:    Yes, sir.     The first -- Mr. Bloch, I'm
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 1      looking through my email, too.          My first date preference

 2      was -- I think the April date was not the first date

 3      preference.    The first date preference, I can't remember what

 4      it was, but I'll find it and we'll go back over that and see

 5      if that works for everyone.          It was further out than April.

 6      April was the second date.          I missed it in the email.   The

 7      first date was either August or November.          So we'll look at

 8      those dates again.

 9                  MR. BLOCH:    Thanks very much.     I think the dates

10      that I saw were April 26, August 2, and November 1.

11                  THE CLERK:     Yeah.

12                  MR. BLOCH:    The August 2 date did present a conflict

13      with some plaintiffs' counsel, which is why we ended up at the

14      April date.

15                  THE COURT:     Okay.    Well, we'll do that.

16                  Let me see if I have anything else.

17                  Do any of the individual defendants who are not

18      represented have anything they would like to add, or is there

19      any defendants' counsel that hasn't spoken that would like to?

20                  MR. SPENCER:     Your Honor, I would personally prefer

21      the November dates to the August dates, but I'm willing to do

22      the April date, although I -- I simply don't -- I think it's

23      unlikely that the pandemic will be resolved by then.

24                  THE COURT:     Right.

25                  MR. CAMPBELL:     Your Honor, this is Dave Campbell on
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 1      behalf of Defendant Fields, and I agree with, if the Court

 2      will permit us, putting the April date on the calendar and

 3      having another backup one farther off.

 4                  THE COURT:    Okay.   All right.    Well, we'll try the

 5      April date but have the backup date, also.

 6                  MR. CAMPBELL:    And I also have a conflict in August,

 7      so if we do the backup date, perhaps, if we could avoid

 8      August, at least the second week of August, that would be

 9      preferable to me.

10                  THE COURT:    I think the backup date further -- as

11      far as possible would be best, because I think that's probably

12      going to be the one that we end up with.

13                  THE CLERK:    Yes, Your Honor.

14                  THE COURT:    So the November date would be good.

15                  All right.    Is there anything else that anyone would

16      like to bring up at this time?

17                  MR. CANTWELL:    Yes, Judge.     This is Christopher

18      Cantwell.

19                  I had written both to the plaintiffs and to the

20      Court seeking more time to respond to their request for

21      admission.    I have jury selection tomorrow in my federal

22      criminal case here in New Hampshire, and the timing of that

23      was pretty inconvenient, as I had noted in my request.

24                  THE COURT:    All right.    Can plaintiffs agree on a

25      little more time for him?
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 1                  MR. BLOCH:    This is Michael Bloch, Judge.      We do

 2      agree.

 3                  THE COURT:     Okay.   How much time do you need, three

 4      weeks?

 5                  MR. CANTWELL:     My trial is going to take about three

 6      weeks.    If we could do four, that would probably be better.

 7                  THE COURT:     Okay.   Say 30 days from today.

 8                  MR. CANTWELL:     Excellent.   Thank you very much, both

 9      of you.

10                  THE COURT:     All right.   I don't believe I have

11      anything else right now.       If any of you do, you're welcome to

12      bring it up.

13                  MR. BLOCH:    Judge, this is Michael Bloch from the

14      plaintiffs.    I have nothing else, unless any of my colleagues

15      have anything.     I think that's it from our side.

16                  THE COURT:     All right.   Anyone else?

17                  MR. SPENCER:     No.

18                  THE COURT:     All right.   Thank you all for

19      participating today.       I appreciate it, your cooperation.        So

20      we'll recess now.     Thank you.

21                  (The proceedings concluded at 3:00 p.m.)

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 1                                    CERTIFICATE

 2                  I, Mary J. Butenschoen, certify that the foregoing

 3      is a correct transcript from the record of proceedings in the

 4      above-entitled matter.

 5      /s/ Mary J. Butenschoen, RPR, CRR                           9/18/2020

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